   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 1 of 33
                                                                 United States District Court
                                                                   Southern District of Texas

                                                                      ENTERED
                 IN THE UNITED STATES DISTRICT COURT
                                                                      June 24, 2016
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                   David J. Bradley, Clerk
                           HOUSTON DIVISION

RODOLFO DIAZ, On Behalf of
Himself and Others Similarly
Situated,

                 Plaintiffs,

                                              Civil Action No . H-15-1282

APPLIED MACHINERY CORP.,
NABORS CORPORATE SERVICES,
INC ., and NABORS INDUSTRIES,
INC .,

                 Defendants.


ABEL ORTEGA , et a1., on
Behalf of Themselves and
Al1 Others Similarly
Situated,

                 Plaintiff,

                                              Civil Action No . H-15-2674

A PPLIED MACHINERY CORP .,
NABORS CORPORATE SERVICES,
INC ., and NABORS INDUSTRIES,
INC .,

                 Defendants.



                     MRMOQAHDUM OPIN ION AHn ORDER

     Plaintiffs, Rodolfo Diaz, and 34 other individuals, on behalf

of them selves and       others similarly situated, bring this action

against defendants, Applied Machinery Corporation (MAMC''), Nabors
Corporate    Services,     Inc w     and    Nabors     Industries,

(collectively, nNabors//),         recover unpaid overtime wages and

other damages under the Fair Labor Standards Act (''FLSA//), 29
     Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 2 of 33



U.S.C. 5 216(b). Pending before the court is Plaintiffs' Partially
Opposed Motion      for   Class Certification          Expedited    Discovery

(Docket Entry No.               After considering plaintiffs' motion,
Defendants Nabors Corporate Services, Incw and Nabors Industries,

Inc .'s Response          Opposition to Plaintiffs' Partially Opposed

Motion for Class Certification & Expedited Discovery (Docket Entry
            Plaintiff's Reply in Support of Plaintiffs' Partially

Opposed Motion      for Class Certification             Expedited   Discovery

(Docket Entry No.           and the applicable law, the court concludes
that the pending motion should be granted as to a11 current and

former nrig welders'' who were     jointly employed by Applied Machinery
Corporation and by Nabors Corporate Services, Inc., and/or by

Nabors Industries,           at App lied Machinery Corporation's Conroe,

Texas location w ithin the three-year period immediately preceding

entry of this Memorandum Opinion and Order.



          1.    Factual A llecations and Procedural Backqround

A.     Factual A llegations

       Plaintiffs allege that in June 2013, Nabors hired AMC to help

build drilling rigs for its fleetx             Plaintiffs allege that during
the relevant statutory period the defendants hired them and others

     work as welders, that they and other welders typically worked

excess         forty (40) hours       week, but were not paid overtime


       lplaintiffs' Consolidated Complaint, Docket Entry No . 28,
%
                                      -
                                          2-
     Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 3 of 33


wages .z   Plaintiffs allege that instead of paying overtime wages,

defendants paid them and other welders at their normal day

hourly-rates .? Plaintiffs allege that

       (a)l1 rig welders employed by AMC and Nabors are
       similarly situated to (themq because they (1) have
       similar job duties; (2) regularly work in excess of forty
      hours per week; (3) are not paid overtime for the hours
      they work in excess of forty per week as required by 29
      U .S.C . 5 207 (a)(1) and (4) are entitled to recover their
      unpaid overtime wages, liquidated damages and attorneys'
      fees and costs from AMC and Nabors pursuant to 29 U .S.C .
       5 216 (b).4


B.    Procedural Background

       On May 13, 2015, plaintiff, Rodolfo Diaz, filed this action

against AMC alleging willful violation of the FLSA X            On September 14,
2015, Abel Ortega and 33 other plaintiffs filed suit against AMC

a separate action, i .e ., Civil Action No . 4:15-cv-2674, also alleging

violations of the FLSA .6         On October 20, 2015, AMC answered the

original complaint filed          this actionx     On November 20, 2015, the




      2Id . at 6 % 16 and 8 %

      3Id . at 8 %% 30, 33 and 9 % 34.
      4Id . at 9 % 39 .
      spkaintiff's Original Complaint , Docket Entry

      6original       Complaint      and      Motion      for      Collective
Action/certification, Docket Entry No. 1 in Civil Action No . 4:15-
cv-2674.

      VApplied Machinery Corporation's Original Answer , Docket Entry
     20.
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 4 of 33


two cases were consolidated ,8 and on January 8, 2016, Plaintiffs'

consolidated Complaint was filed joining Nabors Corporate Services,
Incw    and Nabors Industries, Inc. as defendantsx           On February
2016,    the   Nabors    defendants    answered   plaintiffs'   consolidated

complaintx o on April 22, 2016, the plaintiffs and AMC stipulated to
conditional class certification and noticex l On May 5, 2016, the
parties filed a Joint Motion to Withdraw Plaintiffs' Stipulation re:

Conditional Certification and Noticex z The next day the court held

a hearing at which the parties' joint motion to withdraw conditional
certification and notice was granted, and plaintiffs were directed to

file a motion for conditional class certification within

days.l3 On May 16, 2016, plaintiff filed the pending motion for class

certification     and    expedited    discovery   seeking       certify    the

following class :       ''Al1 current and former 'rig welders' who worked


     8Hearing Minutes and Order, Docket Entry No . 24 C'CA No. H-15-
2674 consolidated into CA No . H-15-12822 . H-15-1282 will be the
lead case.'').
       gplaintiffs' Consolidated Complaint, Docket Entry No .

     loNabors Corporate Services, Inc . and Nabors Industries, Inc .'s
Answer to Plaintiffs' Consolidated Complaint , Docket Entry No . 35 .

       llstipulation Re: Conditional Certification and Notice, Docket
Entry No. 39, p. 2 % 1 (uplaintiffs and Defendant Applied Machinery
Corporation agree to conditional certification and issuance of
notice to a1l welders, fitters, blasters, and painters who provided
services to Applied Machinery Corporation in the last 3 years.v).
     lzDefendants' Nabors Corporate       Services , Inc., Nabors
Industries, Inc . & Applied Machinery Corporation's Joint Motion to
Withdraw Plaintiffs' Stipulation RE : Conditional Certification and
Notice, Docket Entry No . 46 .
       H Hearing Minutes and Order , Docket Entry No . 47 .

                                      -
                                          4-
    Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 5 of 33



for Applied Machinery Corporation and/or Nabors Industries, Incw its
parents, subsidiaries or affiliates during the last three years .//'4

Plaintiff's motion asks the court to

     (1) conditionally certify this case gas a) collective
     action pursuant to 29 U.S.C. 5 2l6(b); (2) authorize the
     issuance      of    notice   to    potential      class   members;   and
      (3)    order      Defendants      to     produce    verified   contact
      information for a1l urig welders'' who worked for Applied
     Machinery Corporation and/or Nabors Industries, Inc., its
     parents, subsidiaries or affiliates during the last three
      years so that notice may be timely implementedx s

Attached thereto is a proposed nNotice                   Applied Machinery and/or
Nabors Industries Rig Welders z/l6

            June         2016,    defendant      filed         response   opposing

plaintiff's motion for class certificationx ?                  Nabors argues that
plaintiffs motion for conditional class certification should be

denied because       plaintiffs      have     failed       show       that   other

aggrieved individuals exist;                 that the putative class members are

similarly situated; and (3) that other aggrieved individuals want to
join this collective actionx 8 Nabors also argues that nconditional
certification           inappropriate         this case as the determination


      n plaintiff's Partially Opposed Motion for Class Certification
& Expedited Discovery (nMotion for Certification//), Docket Entry
No . 49, p . 3 .

     15yd . at

     l6Exhibit I to Motion for                                             49-9 .

     U Defendants Nabors Corporate Services, Inc ., and Nabors
Industries, Inc .'s Response in Opposition to Plaintiffs' Partially
Opposed Motion for Class Certification & Expedited Discovery
(nDefendants' Responsef'), Docket Entry No. 59.
     l8Id . at pp . 7-13 .
     Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 6 of 33



an   employment       relationship   with      Nabors      require       highly

individualized analysis of each plaintiff's circumstances.//lg Nabors

contends that ''Esqome rig welders are employed by Nabors, but many
others, like the Plaintiffs, are independent contractors .''zo

      On June 13, 2016, plaintiffs filed a reply in which they argue

that Nabors' arguments are without merit and they urge the court to

grant their Motion for certification .zl



                 II . Aopiicablp Law and Standard of Review

      The      FLSA   requires   covered       employers    pay   non-exempt

employees for hours worked in excess of defined maximum hours,

               207(a), and allows employees to sue their employers for
violation of its hour and wage provisions . See 29 U .S .C . 55 215-
      An employee may sue his employer under the FLSA on ''behalf of

himself             and other employees sim ilarly situated . No emp loyee

shall be a party plaintiff to any such action unless he gives his

consent in writing to become such a party and such consent is filed

in the court in which such action is brought.'' 29 U.S.C. 5 216(b).
Although 5 216(b) neither provides for court-authorized notice nor


      l9rgd    at

      20Id .(citing Exhibit A, Affidavit of Randy Lagrimini
(nLagrimini Affidavit''), Docket Entry No. 59-1, % 4, and
Declaration of Joe A. Schelebo (uschelebo Declaration''), Docket
Entry No. 59-2, % 2).
      zlplaintiffs' Reply in Support of Plaintiffs' Partially Opposed
Motion for Class Certification & Expedited Discovery (nplaintiff's
Reply''), Docket Entry No. 61.
                                      -
                                          6-
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 7 of 33


requires certification for a representative action under the FLSA ,

certification has been recogn ized as a useful case managem ent tool

for     district     courts          employ         appropriate        cases.

Hoffmann-La Roche Inc. v. Sperlinc,                       482, 486 (1989)
collective action allows               plaintiffs the advantage of lower

individual costs to vindicate rights by the pooling of resources .

       judicial system benefits               efficient resolution            one
proceeding of common issues of 1aw and fact arising from the same

alleged            activityp'').
       When     plaintiff seeks certification to bring a collective

action on behalf of others and asks the court to approve a notice

      potential plaintiffs,          court has discretion          approve the

collective action and facilitate notice to potential plaintiffs .

Soerlinc,            Ct. at 486-87 (ADEA actionlizz Villatoro v. Kim Son
Restaurant, L .P., 286         Supp.                 (S.D. Tex. 2003) (FLSA
action). The court also has discretion to modify the proposed class
definition      if       is   overly    broad .     See    Baldridge    v.    SBC

Communications, Inc.,         404   F.3d   930,   931-32    (5th          2005)
(recognizing the court's power             nlimit the scope'' of a proposed



       22sperlinq was an action brought under the A ge Discrimination
in Employment Act I'AADEA//I, but it is informative here because the
ADEA explicitly incorporates Section 216(b) of the FLSA to also
provide for an uopt-in'' class action procedure for similarly-
situated employees. 110 S. Ct. at 486 (nWe hold that district
courts have discretion, in appropriate cases, to implement 29
U.S.C. 5 216(b) (1982 ed.), as incorporated by 29 U .S.C. 5 626(b)
(1982 ed.), in ADEA actions by facilitating notice to potential
plaintiffs.'').
    Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 8 of 33



class in a FLSA action). See also Heec v . Adams Harris, Inc., 907

   Supp. 2d 856, 861 (S.D. Tex. 2012) (nA court also lhas the power
to modify an FLSA collective action definition on its own'                    the

'proposed    class definition       does not        encompass   only    similarly

situated employees.r//). Because collective               actions may      reduce

litigation costs for the individual plaintiffs and create judicial
efficiency, courts favor collective actions when common issues of

1aw and fact arise from the same alleged activity . Sperlinq , 11O S.

         486-87 .

      The term ''similarly situated'' is not defined                   the FLSA .

See, e .c ., 29 U .S .C .          The                                     to set

  specific standard for courts                 apply when considering whether

employees are sufficiently similar                  support maintenance

representative action . See Mooney v . A ramco Services Co ., 54 F .3d

1207,                       1995) (expressly declining to decide which of
these two analyses is appropriate), overruled on other arounds bv
Desert Palace, Inc. v. Costa,                          2148 (2003).23      Courts
faced with this issue typically apply one of two standards, i.e .,

     two-step analysis described                 Lusardi v . Xerox Corp w

F.R.D.        (D.N .J. 1987), or the uspurious class action'' analysis




     23Moonev was an action brought under the ADEA , but it is
informative here because the A DEA explicitly incorporates Section
216(b) of the FLSA to also provide for an ''opt-in'' class action
procedure for similarly-situated employees . See Mooney, 54 F.3d at
1212 .
                                      -
                                          8-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 9 of 33



described in Shushan v . University of Colorado,                         F .R .D . 2 63

(D. Colo. 1990).         See Moonev, 54 F.3d at 1213-16.
       The Lusardi analysis proceeds                two stages:                notice

stage, followed by                 decertification stage .         See Sandoz v .

Cinqular Wireless LLC, 553 F.3d 913, 915-16 n.                    (5th              2008)
(citations omitted).           At the notice stage the court makes a
decision , usually based solely on the pleadings and any affidavits

that     have    been     submitted,     whether     to     certify      the        class

conditionally and give notice                  potential class members.               See

Moonev, 54 F.3d at 1213-14 .         The decision is made nusing a fairly

lenient standard'' because the court often has m inimal evidence at

this stage of the litigation .             Id . at 1214 .       Courts,             fact,

uappear         require nothing more than substantial allegations that

the putative class members were together the victim s of a single

decision, policy or plan.''              Id.              (quoting Soerlina v.
Hoffman-La Roche, Inc., 118 F.R.D. 392, 407 (D.N.J. 1988)). Thus,
notice       stage   analysis       typically      results               conditional

certification of a representative class .                Id .   A fter conditional

certification the nputative class members are given notice and the

opportunity          Aopt-in .''' Id .     After notice issues the action

proceeds as a representative action .             Id .

       The      second    stage           the     Lusardi       approach              the

''decertification        stage''           typically      precipitated         by

defendant filing a motion to decertify after the opt-in period has

concluded and discovery is largely complete .               Id . ''At this stage,
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 10 of 33


the court has much more information on wh ich to base its decision,

and   makes            factual determination   on   the   similarly   situated

question .''      Id .       the court finds        claimants are no longer

made up of sim ilarly situated persons,             decertifies the class and

dismisses the opt-in plaintiffs without prejudice. If the class is
still similarly situated, the court allows the collective action

proceed .       Id .

      The Shushan analysis follows a procedure that is similar to

the class certification procedure used under Federal Rule of Civil

Procedure 23 (''Rule 23'').
      Shushan espouses the view that 5 16(b) of the Fair Labor
      Standards Act (FLSA) merely breathes new life into the
      so-called ''spurious'' class action procedure previously
      eliminated from ERule 235. Building on this foundation,
      the court determined that Congress did not intend to
      create a completely separate class action structure for
      the FLSA and A DEA context, but merely desired to limit
      the availability of Rule 23 class action relief under
      either Act . In application , the court determ ined that
      Congress intended the ''similarly situated'' inquiry to be
      coextensive with Rule 23 class certification . In other
      words, the court looks at ''numerosity,'' ncomm onality,''
      ntypicality'' and uadequacy of representation'' to
      determ ine whether a class should be certified . Under
      this methodology, the primary distinction between an
        .   .    EFLSA) representative action and a ERule 23q class
      action is that persons who do not elect to opt-in to the
            .    (FLSA J representative action are not bound by its
      results. In contrast, Rule 23 class members becom e party
      to the litigation through no action of their own, and are
      bound by its results.

Moonev,          F.3d at 1214.

      While the Fifth Circuit has explicitly left open the question

of whether the Lusardi approach, the Shushan approach ,                   some

third approach should be used in determining whether employees are
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 11 of 33



sufficiently sim ilar to support maintenance of             representative

action, see   Moonev,      F.3d at 1216, because Shushan applies the

analysis used for class actions brought under Rule 23, and because

the Fifth Circuit has described Rule              uopt out'' procedure as

fundamentally and irreconcilably different from 5 216 (b)'s ''opt in''
procedure, see Lachapelle v . Owens-lllinois, Inc ., 513 F .2d 286,

288              1975) (per curiam), most courts in this district
follow the Lu sardi approach .      See Sandoz, 553 F .3d at 915

See also Tolentino v . C & J Srec-Rent Services Inc w              F. Supp .

2d 642, 646 (S.D. Tex. 2010) (collecting cases).               This court,
therefore,        also follow the Lusardi approach .

      At this initial state of the Lusardi approach , a plaintiff

need only make a m inimum showing          persuade the court         issue

notice to potential class members .       Mooneyr 54 F.3d at 1214 .         In

the absence of Fifth Circuit guidance on the appropriate test

use at this stage of the           analysis, courts are split               the

appropriate elements to consider . Some courts use three elements,

requiring the plaintiff to show that :             there is     reasonable

basis for crediting the assertion that aggrieved individuals exist ;

      those aggrieved individuals are sim ilarly situated                   the

plaintiff       relevant   respects given           claim s and defenses

asserted; and (3) those individuals want to opt               the lawsuit.
See, e .c ., Heec, 907 F. Supp .              Tolentino, 716 F . Supp .

at 649-53. Other courts, however, have rejected the third element

aS non-statutory .      See, e .G ., Drever v . Baker Huqhes Oilfield
     Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 12 of 33


Operations, Inc., Civ il Action No . 4:08-cv-1212, 2008 WL 5204149,

at      (S.D. Tex. Dec. 11, 2008)            Because the third element is not
statutorily required and because requiring evidence                  putative

class members who are willing to join a collective action before an
appropriate class has even been defined conflicts with the Suprem e

Court's directive that the FLSA be liberally construed to effect

its purposes, see Tonv and Susan Alam o Foundation v . Secretarv of
                                 -




Labor, 105 S .              1953, 1959        (1985), the court agrees that
plaintiff need not present evidence of the third element at this

stage of the litigation .



                                      111 . Analvsis

A.     Class Certification

       Nabors      urges   the       court     deny      pending m otion

conditional class certification because N'Epllaintiffs' Emlotion

fails to provide some factual basis for the existence of                class-

wide policy or p ractice as to Nabors that violated                   18W ''24

Asserting that Mlpllaintiffs are independent contractors,''zs Nabors
argues that ''lpllaintiffs have only provided unsubstantiated,
conclusory declarations and a handful of paystubs as evidence .''z6



       M Defendants' Response, Docket Entry No .

       25Id . at 2 (citing Exhibit A, Lagrimini Affidavit, Docket Entry
No . 59-1, % 4, and Exhibit B , Schelebo Declaration , Docket Entry
No. 59-2, % 2).
       26:d   at
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 13 of 33



            Whether There Is a Reasonab le Basis for Creditina
            A ssertion that Other Aacrieved Individuals Exist

     To   satisfy the      first element under the Lusardi analysis

plaintiff need only show that there                reasonab le basis

believing that other aggrieved individuals exist .               Heea, 907

   Supp .           862.     Attached      plaintiffs' motion are

declarations   of   four of the plaintiffs         named       Plaintiffs'

Consolidated Complaint (Docket Entry No. 28): Adolfo Diaz, Rodrigo
Campos, Abraham Francisco Puga-Reyna , and Ricardo Colmenares. A11

   these declarants state that they were employed as rig welders

jointly by AMC, Nabors Corporate Services, Inc., and/or Nabors
Industries, Inc w    that they were paid at an hourly rate, that

despite routinely working more than forty hours per week they did

not receive overtime          at one and      half times their regular

hourly rates, and that based on their observations, other

welders who worked for the defendants were paid the same way, i.e .,

they were paid an hourly rate, denied overtime                 and      they

learned about this lawsuit , many of them would be interested

joining.z7 Also attached to plaintiffs' motion are copies of twelve
   Diaz's pay stubs showing             only that he worked over forty



     27See Declaration of Rodolfo Diaz (%'Diaz Declarationv), Exhibit
A to Motion for Certification , Docket Entry No . 49-1: Declaration
of Rodrigo Campos ('Acampos Declaration''), Exhibit B to Motion for
Certification , Docket      Entry No . 49-2 ) Declaration of Abraham
Francisco Puga-Reyna       (npuga-Reyna Declaration''), Exhibit C to
Motion for Certification, Docket Entry No . 49-37 and Declaration of
Ricardo Colmenares (ucolmenares Declaration'/), Exhibit L to Motion
for Certification , Docket Entry No . 49-12 .
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 14 of 33



hours per week, but also that he was paid the same hourly rate for

al1 the hours that he           worked .28

        Nabors argues that the evidence attached to plaintiffs' Motion

for    Certification       does          provide     reasonable    basis   that
similarly aggrieved individuals exist .29 citing Shanks v . Carrizo

0i1 & Gas, Inc., Civil A ction No . 4 :12-cv-3355, 2013 WL 6564636, at

      (S.D. Tex. December              2013), and Simmons v. T-Mobile USA,
Inc w Civil Action No . 4:06-cv-1820, 2007 WL 210008, *4 (S.D. Tex.

                 2007), Nabors argues that
        declarants state that ''lbqased on my observations, the
        other rig welders that worked for Defendants were paid
        the same way I was paid (i.e., they were denied overtime
        pay at one and one-half times their regular rates for
        hours worked over forty in a workweekl.'' None of the
        declarants describe what they observed , who they
        observed , or the facts that 1ed them to the conclusion
        that they were paid similarly .         In short, the
        declarations are wholly inadequate as to providing the
        necessary support as to why a class should be certified
        against Nabors . Plaintiff's Motion should be denied as
        Plaintiffs fail to show that there is a reasonab le basis
        that aggrieved individuals exist .30

        Nabors' reliance on Shanks and Simmons               m isplaced because

the evidence              the existence of other aggrieved individuals

offered               support   of           applications          conditional

certification that were denied in those cases was far less than the

evidence offered here .              In Shanks,    2013 WL    6564636,         +5,


      28see Exhibit D to Motion for Certification ,               Docket Entry
No . 49-4 .

        zgDefendants' Response, Docket Entry                  pp . 7-10.
        30(d .
     Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 15 of 33



conditional certification was denied because the plaintiff,

worker in one oilfield, subm itted only his own affidavit in support

of       proposed    class    comprised          employees     from   oilfields

throughout the country .       In Simmons, 2007 WL 210008,                       the

court held that the plaintiff had produced evidence that other

aggrieved individuals exist, but that the evidence was largely

about retail sales representatives, not about the job category
which    plaintiff    was    seeking    conditional      certification ,    i.e .,

supervisory retail sales representative .           Nevertheless, the court

stated that          would nassume without deciding that Simm ons has

established Aa reasonable basis for crediting the assertions that

aggrieved individuals exist .''' Id . at

        Plaintiffs   reply    that     the   existence        other   aggrieved

individuals is evidenced not only by the four declarations attached

to their motion but also by the fifty individuals who are either

named plaintiffs or who have filed consents                 join this case.31
The fifty individuals plaintiffs reference appear                          the

plaintiffs named in the Consolidated Comp laint filed on January 8,

2016,32 and the 15 individuals on whose behalf consent forms have

been filed .    The Clerk's Docket List shows that in September and


        M plaintiffs' Replyr Docket Entry No .

     H plaintiffs' Consolidated Complaint , Docket Entry No . 28 . The
35 named p laintiffs are the individual plaintiff originally named
in this action (Rodolfo Diaz), and the 34 plaintiffs originally
named in Civil Action No . 4 :15-cv-2674 which was dism issed at the
hearing held on May 6, 2016. See Hearing Minutes, Docket Entry
No . 47 .
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 16 of 33



October of 2015 consents to join this action were filed for six
individuals: Joel      Hernandez     (Docket   Entry     No.         Arnoldo
Hernandez (Docket Entry No.             Eleazar Hernandez,           (Docket
Entry              Eliazar Hernandez,             (Docket Entry
Alberto Ayala,           (Docket Entry No.             and Guadalupe Vega
(Docket Entry No. 21).      The Clerk's Docket List also shows that
since plaintiffs filed their Motion for Certification, consents to

join this case have been filed for an additional nine individuals:
Alejandro Sanchez (Docket Entry                   Carlos Morales (Docket
Entry No. 52); Juan Abadia (Docket Entry No. 53); Juan Najer
(Docket Entry        54); Marin Sierra (Docket Entry                    Omar
Penaloza (Docket Entry No. 56); Roberto Lara (Docket Entry No.
Walter Hernandez (Docket Entry                     and Ignacio Hernandez
(Docket Entry No. 64).        By submitting the declaration                 the
original plaintiff, Diaz, and the declarations of three individuals

who were plaintiffs         the consolidated case and are now named

plaintiffs        this     action,   i .e.,    Campos,    Puga-Reyna,       and

Colmenares, and by pointing to consents filed on behalf of an

additional   fifteen   individuals, plaintiffs have            established

reasonable basis for crediting their assertions not only that other

aggrieved    individuals    exist,   but   also    that   other    aggrieved

individuals want to join this lawsuit.
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 17 of 33



            Whether Other Aaarieved                Individuals    Are     Similarlv
            Situated to Plaintiff

     To     satisfy     the    second    element          the   Lusardi    analysis

plaintiff must demonstrate a reasonable basis                    believing that a

class        similarly        situated   persons     exists.      See   Heec , 907

   Supp .                     (citing Lima v. International Catastrophe
Solutions, Inc., 493              Supp . 2d 793, 798 (E.D. La. 2007)).
nPotential class members are considered similarly situated to the

nam ed plaintiff          they are 'sim ilarly situated               terms of

requirements      and     sim ilarly     situated           te rm s         payment

provisions.r''         Id .   (quoting    Rvan    v. Staff      Care,     Incw     497

   Supp . 2d 820, 825 (N.D. Tex. 2007) (citing Dyback v. State of
Florida Department of Corrections,                   F.2d 1562, 1567-68 (11th
        1991)).           court may deny plaintiffs' right                  proceed
collectively      if    the    action    arises    from   circumstances      purely

personal to the plaintiff, and                   from any generally applicable

rule, policy, or practice.f'' Id. (quoting England v . New Centurv
Financial Coro w 370 F. Supp. 2d 504, 5O7 (M .D. La. 2005)).
     Nabors argues that the Motion                    Certification should be

denied because ''Epllaintiffs have                     identified          class
individuals that can properly be considered similarly situated .//33

Citing affidavits of Nabors employees, Randy Lagrim ini, Director of

Capital Equipment Sourcing for Nabors Corporate Services, Inc w and

    Schelebo , Operations Superintendent                    the         Operations


     M Defendants' Response, Docket Entry
  Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 18 of 33



Department at Nabors International, Inc w         the Nabors defendants

contend that

     Plaintiffs propose an overly broad class of 'Alalll
     current and former Arig welders' who worked for Applied
    Machinery Corporation and/or Nabors Industries, Incw its
    parents, subsidiaries or affiliates during the last three
     years (emphasis addedl.''          Plaintiffs' proposed class
    would potentially include al1 rig welders, regardless of
    classification as an employee or independent contractor,
    exempt status, and work location , for b0th Nabors and
    AMC . Nabors currently operates in 18 countries, and
    utilizes rig welders as independent contractors and
    employees in numerous locations.       Nabors classifies
    workers as emp loyees or independent contractors based on
     factors such as the nature and duration of the project or
     work, the level of supervision Nabors provides , and the
     needs of the company, among other factors . Additionally ,
     rig welders classified as employees of Nabors are subject
     to different policies, procedures, and pay practices, as
     compared to independent contractors.

     Plaintiffs were a11 classified as independent contractors
     and worked at AMC 'S Conroe, Texas location . None of the
     Plaintiffs who have joined this suit were classified as
     employees of AMC , much less classified as emp loyees of
     Nabors . Further, there is no evidence that Plaintiffs
     worked at any locations owned or operated by Nabors, nor
     is there evidence that any of the Plaintiffs worked on
     projects other than the Nabors/AMc project.             Despite
     solely relying upon four conclusory declarations,
     Plaintiffs fail to address any of these critical
     specifics about the other current and former individuals
     whom they wish to include in a collective action or why
     the class should be broader than one lim ited to the AMC
     yard in question for the specific Nabors project.34
     Lagrim ini states in relevant part :

          Nabors Industries, Incw   and Nabors Corporate
          Services,  Incw   and  their  subsidiaries and
          affiliates   (collectively,   ''Nabors'') operate
          approximately one hundred forty-six (146) land
          drilling rigs in fourteen (14) countries and
          operate thirteen (13) offshore rigs in seven (7)


     34Id . at 10-11.

                                   -
                                       18-
  Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 19 of 33



          countries .    In total, Nabors currently operates in
          eighteen (18) different countries. Many different
          types of workers are required to operate the
          onshore and offshore rigs, including rig welders.

         Rig welders provide services in many different
         countries .   Some rig welders are employed by
         Nabors . As employees, they would receive paychecks
         from Nabors, which would include overtime pay, and
          they   would    be   subject    to   the   policies     and
          procedures of Nabors as well as the policies and
          procedures of the specific rig and/or location in
          which they worked .

          Nabors also utilizes many rig welders on a contract
          basis.    Rig welders who work as independent
          contractors are used for specific projects. Whether
          a worker is classified as an independent contractor
          or employee depends on factors such as the nature
          and duration of the project or workr the level of
          supervision Nabors providesr and the needs of the
          company, among other factors .3s

    Schelebo states in relevant part :

          In the fall of 2013, I worked as the Operations
          Superintendent for the Rig Operations Department at
          Nabors . From the fall of 2013 through the summ er
          of 2015, I was assigned to work at Applied
          Machinery     Corporation's     IUAMC'')   Conroe,    Texas
          facility .    AMC   agreed   to  provide   repair,
          refurbishment, and maintenance services for 9 of
          Nabors's rigs. A s the Operations Superintendent
          for the Rig Operations Department at Nabors, I was
          responsible for ensuring that the rigs were
          repaired and refurbished as needed .

          There were many workers at AMC'S Conroe, Texas
          facility who were working on Nabors's rigs . Many
          of the workers were not employed by Nabors . For
          example none of the rig welders were employees of
          Nabors.

          I did not have regular contact with many of the rig
          welders . The rig welders I spoke to regularly were


     MLagrimini Affidavit , Exhibit               Defendants' Response,
Docket Entry No . 59-1, %% 2-4.
  Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 20 of 33



           Juan   Hernandez,    Sr .   and   Juan    Hernandez,   Jr .
           (collectively, the nHernandezes'/). I would provide
           information to the Hernandezes about the scope of
           the work that needed to be completed .          The
           Hernandezes would decide how many rig welders would
           be needed, they would find the rig welders, and
           they would choose which reg welders to use . It was
           my understanding that the Hernandezes were not
           employees of Nabors or AMC .

           Typically, rig welders would provide their own
           trucks and their own personal welding equipment and
           supplies .   .36

     Nabors argues that the evidence provided by Lagrimini and

Schelebo   shows that    ''lcqonditional certification
inappropriate in the case at hand gbecause pjlaintiffs' proposed
class seeks a11 current and form er rig welders, regardless of the

classification or location .'''R Nabors argues that

     (pqlaintiffs' overly broad class size would include rig
     welders employed by Nabors and others utilized by Nabors
     as independent contractors . The class size would also
     encompass the rig welders utilized by Nabors in 18
     countries, working in a myriad of conditions and on a
     variety of different projects. Moreover, the putative
     class size would include uNabors Industries, Inc w           its
     parents, subsidiaries or affiliates.//38

Citing Tucker v . Labor Leasina, Inc., 872 F.supp. 941, 948 (M.D.

Fla. 1994), and Harper v. Lovett's Buffet, Incw               F.R.D. 358,
363 (M .D. Ala. 1999), Nabors argues that courts often refuse to




     M schelebo Declaration, Exhibit B              Defendants' Response ,
Docket Entry No . 59-2, 1% 1-4.
     M Defendants' Response, Docket Entry

     38Id . at

                                  -
                                      20-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 21 of 33



authorize      notices    to       putative    class   encompassing       multiple

locations when practices at only one location are in evidence .3g

       The evidence attached to plaintiffs' Motion for Certification

shows that at least four individuals (Diaz, Campos, Puga-Reyna, and
Colmenares) worked for the defendants in the same position, i.e.,
as rig welders, at the same location, and were a11 paid the same

way, i.e ., at an hourly rate , and were not paid overtime for worked

performed           excess of forty hours per week .40       Evidence attached

to Nabors' response including b0th the Schelebo Declaration and the

responses            Nabors'    interrogatories     show    that    a1l    of   the

plaintiffs worked at AMC'S location               Conroe, Texas .4l

       Nabors does not dispute that plaintiffs and other rig welders

working at AMC'S Conroe , Texas, location were similarly situated in

terms of job requirements, that they were al1 paid an hourly-rate,
that they regularly worked more than forty hours a week, and that

they    were           paid    overtime .     Instead,     Nabors   argues      that

plaintiffs' were not subject                the FLSA'S overtime requirements


       39zd    at

     40see Exhibits A-C and L to Motion for Certification , Diaz
Declaration , Campos Declaration , Puga-Reyna Declaration, and
Colmenares Declaration, Docket Entry Nos. 49-1 through 49-3, and
49-12 .
     41see Schelebo Declaration, Exhibit B to Defendants' Response ,
Docket Entry No . 59-2, %% 1-37 Exhibits E-H to Defendants'
Response, Objections & Answers to Defendants' Nabors Corporate
Services, Inc w    and Nabors Industries, Inc . First Set of
Interrogatories for Rodolfo Diaz, Rodrigo Campos, Abraham Puga-
Reyna, and Ricardo Colmenares, Docket Entry Nos. 59-5 through 59-8,
respectively .
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 22 of 33



because    they   were    not   Nabors'   employees       and   were ,   instead,

independent contractors .          The court         not persuaded by this

argument because exemptions are merits-based defenses                           FLSA

claims that courts in this district typically hold to be irrelevant

at this initial, notice stage of the case . See, e .c ., Drever, 2008

WL 5204149, at *2 (rejecting defendant's argument that the possible
application            multiple    FLSA   exemptions       counseled      against

conditional certification ubecause exemptions are merits-based

defenses   to     an   FLSA   claim'' that     ncannot     defeat   conditional

certificationv); Foraker v. Hichpoint Southwest, Services, L.P.,
Civil Action No. 4:06-cv-1856, 2006 WL 2585047, at *4                           (S.D.

Tex. Sept. 7, 2006) (rejecting the defendant's argument that
conditional certification should be denied because plaintiffs were

supervisors and exempt under the executive exemption as an argument

that ''goes       the m erits of whether the emp loyees are exempt from

overtime pay and is not a persuasive basis to deny notice'').
     Because Nabors adm its          treating al1 rig welders working at

     AMC      location          Conroe,   Texas,    as    exempt    independent

contractors, and because there is no evidence now before the court

showing that the day-to-day job duties                   rig welders at that
location   differ      substantially,           court     concludes      that

potential class members are similarly situated in terms of 50th job
requirements and payment provisions .              Because the evidence now

before the court shows that there                        reasonable basis for

crediting plaintiffs' assertion that other aggrieved individuals
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 23 of 33


exist and that other aggrieved individuals are similarly situated

to plaintiffs           term s        b0th         requirements and payment

provisions,           court concludes that plaintiffs have provided

sufficient evidence to satisfy the first stage                          Lusardi

analysis, and that this matter should be conditionally certified as

a collective action under 29                    5 216(b).    The central issue
presented by the plaintiffs' Motion for Certification and Nabors'

opposition thereto is whether plaintiffs have demonstrated that

common policy or plan extends beyond the AMC location                    Conroe,

Texas         a11        Nabors     multiple     locations             different

countries.      See Rosario v . Valentine Avenue Discount Store, Co .,

Inc., 828 F. Supp. 2d 508, 516 (E.D.N .Y.
        The current record does               provide    sufficient basis to

extend certification             any locations beyond AMC'S Conroe , Texas

location . The only evidence            the record          that rig welders

AMC'S Conroe, Texas location routinely worked m ore than forty hours

per week without being paid overtime .             ''FLSA violations at one

  company's multiple locations generally                         without more,

sufficient          support      company-wide    notice.''     Rueda   v . Tecon

Services, Inc ., Civil Action No . 4:1O-cv-4937, 2011 WL 2566072, at

      (S.D. Tex. June 28, 2011). See also Harper, 185 F.R.D.
(finding that the plaintiffs                  failed     show that employees

working at locations other than the named p laintiffs' location were

similarly situated); Tucker,                 F.supp .   948 (same).     That
not       suggest that ngeographic commonality                    necessary to
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 24 of 33



meet the Asimilarly situated' requirement for                 FLSA collective

action ; instead the focus is on whether the employees were impacted

by a common policy .''        Varaas v . Richardson Trident Cc w           Civil

Action         4:09-cv-1674, 2010 WL 730155, at *6 (S.D.TeX. Feb.
2010) (collecting cases).           If there is           reasonable basis
conclude that the same policy applies to multiple locations of a

single company, certification is appropriate . See Blake v . Colonia

Savings, F .A ., Civil Action No . 4 :04-cv-0944, 2004 WL 1925535, at

      (S.D.TeX. Aug.        2004) (approving notice to loan officers
the defendant's Dallas office and those in remote locations based

on evidence that the company's policies extended to               locations).
The    present    record,   however,      contains   no    evidence    that    the

complained-of policies or practices at AMC'S Conroe, Texas location

are policies or practices that extended to any other location

operated by AMC or by any Nabors entity.                              extent the

plaintiffs seek collective-action certification for locations other

than AMC'S Conroe, Texas, location, that request will be denied .


B.     Request for Expedited Discovery and Notice to Class Momners

        Plaintiffs' proposed notice is attached as Exhibit I to their

Motion for Certification .4z Plaintiffs request that their counsel

be allowed to send the proposed notice to potential class members

by first class mail, and that the court fix a postmark deadline for

the return of consent form s of sixty days from the date the notices


       W Docket Entry No . 49-9.

                                      -
                                          24-
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 25 of 33

are mai1ed .43         that          notice may     be    tim ely    implemented,

plaintiffs      request    that   defendants    produce      verified    contact

information for            rig welders who worked            App lied Machinery

Corporation       and/or    Nabors    Industriesz                       parents,
subsidiaries or                                      three years.44

       Nabors responds that            they should            be compelled

provide information regarding any individual who provided services

to defendants outside of the potential statutory period,                    they

should            be   compelled          produce        unnecessary    personal

information , and they need more than a mere ten days to provide the

information on the putative class members,                 ninety days to opt-

         excessive ;        consent form s must be filed with             court;

and          plaintiffs' proposed notice                 defective       several

material aspects.         If the court conditionally certifies            class,

Nabors urges the court to order the parties to confer and subm it a

proposed agreed notice .45

        Plaintiffs' reply that

        (tlhe proposed form is substantially similar to a notice
       agreed upon by Nabors' counsel in a case currently
       pending before Judge Nancy Atlasr in which the
       undersigned is the counsel for plaintiffs, Sester v .
       Burrow Global Services, LLC, Civil Action No . 4 :15-cv-
       03346. It is fair and balanced .      It is also fairly
       understandable to a layman . Hence Plaintiffs' notice is
       proper .46



       HMotion for Certification , Docket Entry No .

       44Id . at 12-13.

       O Defendants' Response, Docket Entry No .              pp . 20-23.
       46plaintiffs' Reply , Docket Entry No . 6l, p .
    Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 26 of 33



              Reauests for Information for Individuals Who Provided
              Services Outside of the Potential Statutorv Period

       Nabors objects to plaintiffs' request               information
potential class members who provided services to defendants at any

time during the last three years as too broad . Citing Quintanilla

v. A & R Demolition , Inc w Civil Action No . 4:O4-cv-1965, 2005 WL

2095104,          (S.D. Tex. August           2005'
                                                  /, Nabors argues that

''Ebqased on the statute of limitations,              have recognized that
class certification is appropriately lim ited to workers employed by

the defendant up to three years before notice is approved by the

COklrt. e4?     Nabors       correct            class   certification

appropriately limited to workers employed by defendants up to three

years before this court approves              notice.   Jolentino,
Supp . 2d at 654. An FLSA cause of action A'raay be commenced within

two years after the cause          action accrued            except

cause of action arising out                               may be commenced

within three years after the cause of action accrued .''

5 255 (a). nImportantlyr the Alimitations period is not tolled with
respect       other potential plaintiffs unless and until they opt

to the case.#'' Id. (quoting Quintanilla v. à & R Demolitina, Incw
Civil Action No . 4 :04-cv-1965, 2005 WL 2095104,           *16         Tex .

Aug.       2005)). nBased on the statute of limitations, courts have
recognized that class certification             appropriate ly limited



       U Defendants' Response, Docket Entry No .

                                    -
                                        26-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 27 of 33



workers employed by the defendant up             three years before notice

is approved by the court .''       Id .      Thus, the notice period must

commence three years prior to the court's approval of this notice .



             Verified Personal Contact Information         (Names and Last
             Known Addresses) Within 90 Davs

     Citing the proposed order attached to plaintiffs' Motion for

Certification, Nabors objects to plaintiffs' request for personal
contact information for potential class members.           Nabors argues :

     Plaintiffs' Motion states that the order they are seeking
     would require the production of ''verified contact
     information    (i.e., names and last known addressesl.''
     Plaintiffs' proposed order, howeverr requests far more
     invasive information than what is requested in the
     Motion . The proposed order requests within ten (10) days
     of its entry, that Defendants produce 'A(1) Full names;
     (2) Email addresses; (3) Last known mailing addresses;
     (4) Social Security numbers; (5) A11 telephone numbers;
     (6) Dates of employment; (7) Location ls) of employment;
     and (8) Nature of employment.48
Nabors argues that plaintiffs' requests for personal inform ation

beyond names and last known addresses should be denied due

privacy concerns and because such information is not needed to send

notice         putative   class   members.      Nabors   also   argues   that

plaintiffs' demand for the personal information of putative class

members within ten          days is overly burdensome, and that they

should have at least thirty (30) days to accomplish this task.




     48((d   at

                                   -   27-
      Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 28 of 33



       Plaintiffs' requests           full names, email addresses, last

known mailing addresses, telephone numbers, and dates of employment

are         unduly burdensome         invasive, and are appropriate and

necessary to further the broad rem edial purposes of the FLSA

providing notice to b0th current and former employees . Other courts

routinely approve such requests when , as here, they are likely to

further         broad remedial purposes of the FLSA by facilitating

notice, and disapprove such requests only when defendant makes

showing that such measures are not likely to facilitate notice .

Here , Nabors has made no such showing .             Social security numbers,

however, are very personal and private , and plaintiffs have not

stated any specific reason for needing them to effect notice to the

putative class .      Other courts routinely deny requests               social

security numbers absent extenuating circum stances .              Accordingly ,

the court concludes that defendants shall provide to plaintiffs'

counsel contact       information               potential class members that

includes full names, email addresses, last known mailing addresses,

a11 known telephone numbers, and dates of employment, but does not

include social security numbers.                 See, e .a ., Dvson   v . Stuart

Petroleum Testers, Inc., 308 F.R.D.                          (W.D. Tex. 2015)
(authorizing production              contact       information that    included
potential class members' email addresses and telephone numbers but

       social security numbers); In re Wells Farco Wace and Hour
Emplovment Practices Litication (No . 111) C'Wells Farao 111''), 2013


                                      -
                                          28-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 29 of 33



WL 2180014,             (S.D. Tex. May           2013) (denying plaintiffs'
request for email addresses upon finding that uprovision of email

addresses          likely not facilitate notice              case''); id.

   (granting plaintiffs' request for social security numbers only
            potential   plaintiffs       whose      notice    returned      as

undeliverable).


             Sixtv Davs to Opt In Is Reasonable

     Citing the proposed order attached to plaintiffs' Motion for

Certification, Nabors objects to plaintiffs' request for a ninety
day opt-in period .     Nabors argues :

     Plaintiffs' Motion seeks a sixty (60) day opt-in period
     for class members to join this lawsuit after notice is
     provided . Plaintiffs' order , on the other hand, requests
     a ninety (90) Edayj opt-in period. Ninety (90) days for
     the opt-in period is extremely excessive and unnecessary .
     If this matter is conditionally certified, Defendants
     request that this Court order a sixty (60) day opt-in
     p eriod .49

Since plaintiff's m otion seeks a sixty-day opt-in period, and since

Nabors agrees that        sixty-day opt-in period is reasonable, the

opt-in period shall be sixty               days .



             Written Consents Must Be Filed With the Court

     Nabors argues that plaintiff's request that consent form s

provided by the putative plaintiffs be ndeemed filed as of their



     49(
       gd    at

                                     -
                                         29-
    Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 30 of 33



postmark date ,''     unreasonable and violates the p lain language

the FLSA .5O Asserting that plaintiffs have not cited any authority

supporting    this    request , Nabors        urges   the   court        AArelec
                                                                             ' j;

Plaintiffs' request to deem the written consents as filed by the

postmark dates and instead recognize their filing only after such

action has been taken .''sl

     The FLSA provides that M Enlo employee shall be a party
plaintiff       any EFLSA) action unless he gives his consent
writing to become such        party and such consent                filed in the

court       which such action is brought .'' 29                   5 216(b). An
action under the FLSA commences               the date when the complaint

filed, if     (the plaintiff) is specifically named as a party
plaintiff in the complaint and                 written consent to become

party plaintiff is filed on such date                 the court        which

action is brought.'' 29 U.S.C. 5 256(a). nEllf such written consent
was not so filed or if Ethe plaintiffrs) name did not so appear E,
the action commences) on the subsequent date on which such written
consent      filed in the court in which the action was commenced .''

29 U.S.C. 5 256(b). See Donovan v. Universitv of Texas at El Paso,

    F.2d 1201, 1208 (5th Cir. 1981) (recognizing that a plaintiff
must file written consent with the court to become an FLSA party

plaintiff; filing the complaint is not enough)                        collective


     5OId . at 23 .

     5lId
                                    -
                                        30-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 31 of 33



action, the lim itations period is tolled for the original party

plaintiffs on the date the complaint is brought, and for the later

op-in plaintiffs on the date their notices              consent are filed

with the court.'' Clark v . Centene Co . of Texas, L .P., 104 F. Supp .

               (W .D. Tex. 2015) (citing          U .S .C.    256(a)- (b)).
Plaintiffs have not cited any authority that would allow the court

   deem consent forms provided by the putative plaintiffs                   be

filed as      their postmark date as opposed to the date on which

they are actually filed with court .         Thus plaintiffs request that

consent forms provided by the putative plaintiffs be ''deemed filed

as of their postmark date'' will be denied .



            Defective Notice

     Nabors argue that

     The notice should inform opt-ins that they may be
     required to respond to written questionsr sit for
     depositions and testify in court . The notice should also
     in form potential opt-in plaintiffs that they may be
     responsible for sharing in the liability for paym ent of
     costs if     Defendants prevail     in   the  law suit .
     Additionally, the notice should also inform potential
     opt-ins that Plaintiffs' attorneys fees will reduce their
     potential recovery . This information should be required
     so opt-ins can be fully informed of the consequences of
     their decision , as best as possible, and decide if it is
     worth it to join the lawsuit.52
     Citing Behnken v . Luminant Mininq Co ., LLC , 997 F . Supp . 2d

     524 (N .D. Tex. 2014), Nabors argues that opt-ins should be



     52:d
                                   -
                                       31-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 32 of 33



informed that they may be required to pay costs if plaintiffs

receive an unfavorable decision .o           Neither AMC nor Nabors has

asserted counterclaim s, and Nabors has not provided any reason

believe that should defendants prevail, any costs assessed against

plaintiffs would be more than de minimus with respect                  each

individual . In a sim ilar case, another court in this district held

that requiring an instruction that potential plaintiffs could be

liable for costs associated with the lawsuit nmay have an

terrorem effect that is disproportionate           the actual likelihood

that costs or counterclaim damages w ill occur             any significant

degree .'' Baran'as v . Acosta, Civil Action No . 4:11-cv-3862 ,            WL

1952261, at       (S.D. Tex. May 30, 2012) (citation omitted).
Moreover, courts in this district routinely approve notice forms

FLSA actions that do not include language regarding the class

members' potential liability for costs . See e .a ., Wells Farao 111,

2013 WL 2180014, at *8. Because Nabors has failed to identify any

reason for concern that potential plaintiffs may be required to pay

costs and expenses that are more than de minimus, and because

courts in this district routinely approve notices w ithout warning

potential plaintiffs about such costs and expenses, the court is

not persuaded that such a warning            appropriate     this case .




     531d

                                   -
                                       32-
   Case 4:15-cv-01282 Document 65 Filed in TXSD on 06/24/16 Page 33 of 33

                     IV .   Conclusions and Order

               reasons explained            5   111, above, plaintiffs'

requests (1) that defendants be ordered to produce social security
numbers     putative class members, and                 that consent form s

provided by the putative plaintiffs be ndeemed filed as of their

postmark date'' are DENIED . Accordingly, Plaintiffs' Partially

Opposed Motion    for   Class Certification          & Expedited   Discovery

(Docket Entry No. 49) is GQAHYRD IN PART AHn DENIED IN PART, and
the court provisionally deems this action a collective action and

defines the conditionally approved collective class as follow s:

     A11 current and former rig welders who were jointly
     employed by Applied Machinery Corporation and by Nabors
     Corporate Services, Incw and/or by Nabors Industries,
     Inc . at Applied Machinery Corporation's Conroez Texas
     location within the three-year period immediately
     preceding entry of this Memorandum Opinion and Order,
     i .e ., from June 24, 2012, to the present .

     Within thirty days of the entry of this Mem orandum Opinion and

Order defendant shall provide plaintiffs with                   list   of

employees fitting the description of the conditionally certified

class that includes each individual's full name, last known m ailing

address, email address (if known), a11 known telephone numbers, and
dates of employment .    Plaintiffs shall have thirty days from the

receipt of this information           m ail the proposed notice             the

potential class members.      The opt-in period shall be sixty days

from the date the notice is mailed .

     SICHRD at Houston , Texas, on this 24th da             o      , 2016.
                                                        <


                                                e'
                                                      SIM LAKE
                                            UNITED STATES DISTRICT JUDGE

                                  -
                                      33-
